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  UNITED STATES DISTRICT COURT                                Courtroom 940
  EASTERN DISTRICT OF NEW YORK                                DATE: 1/10/2023         TIME:
  BEFORE: GARY R. BROWN, U.S. DISTRICT JUDGE                                              FILED
                                                                                          CLERK
                         CASE: Civil Cause for Telephone Pre-Motion Conference
                            18cv02018 PICINICH V. NASSAU COUNTY ET AL            3:33 pm, Jan 10, 2023
                                                                                  U.S. DISTRICT COURT
                                                                             EASTERN DISTRICT OF NEW YORK
  APPEARANCES:           Plaintiff: Pablo A. Fernandez
                                                                                  LONG ISLAND OFFICE
                         Defendant: Ralph J. Reissman, Richard H. Yorke
  FTR: 2:15-3:00
                   Motion for:   summary judgment motions, DE 104 and DE 105, summary
                   judgment cross-motion, DE 107,
                   Movant:
  Case called.
  ☒        Counsel for all sides present.
  ☒        Pre-motion conference held.
                 ☐Parties to meet and confer and submit a schedule within 2 weeks.
                 ☐Motion Schedule set.     Motion served by:
                                           Response served by:
                                           Reply and all papers filed by:

  ☐        Discovery to proceed while motion is pending. Parties to contact Magistrate
           Judge assigned to the case to schedule an Initial Conference.
  ☒        Motion argued.
  ☒        The Court deems the motion made.
  ☒        Other: For the reasons set forth on the record, judgment is entered in favor of
  defendants and against plaintiff. The clerk is directed to enter judgment and close the
  case.,
  ☐        The parties are to submit order on notice to all parties.
  ☐        Settlement discussed. Choose an item.
  ☐        Jury Selection and trial set for:
                  Joint pretrial order due by:

  ** To obtain a copy of the transcript counsel should contact the ESR department in
  Central Islip at (631) 712-6030. Instructions and forms for requesting a transcript can be
  found at https://www.nyed.uscourts.gov/ under the Court Information tab.**
